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    Exhibit B – Announced Upcoming Executive Order
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April 30, 2020                                                                  Executive Order 2020-XX


                         EXECUTIVE ORDER IN RESPONSE TO COVID-19
                            (COVID-19 EXECUTIVE ORDER NO. XX)1

WHEREAS, Coronavirus 2019 (COVID-19) is a novel severe acute respiratory illness that can
spread among people through respiratory transmissions and present with symptoms similar to
those of influenza; and,

WHEREAS, on March 11, 2020, the World Health Organization characterized the COVID-19
outbreak as a pandemic; and,

WHEREAS, despite efforts to contain COVID-19, the World Health Organization (WHO) and
the federal Centers for Disease Control and Prevention (CDC) have declared that it is expected to
continue spreading; and,

WHEREAS, certain populations are at higher risk of experiencing more severe illness as a result
of COVID-19, including older adults and people who have serious chronic medical conditions
such as heart disease, diabetes, or lung disease; and,

WHEREAS, in a short period of time, COVID-19 has rapidly spread throughout Illinois,
necessitating updated and more stringent guidance from federal, state, and local public health
officials; and,

WHEREAS, social distancing, which requires maintaining at least a six-foot distance between
people, continues to be a paramount strategy for minimizing the spread of COVID-19 in our
communities; and,

WHEREAS, current testing availability has identified further spread of confirmed cases
throughout the State of Illinois, and it is expected that increased testing capacity would
demonstrate that COVID-19 is circulating in communities across Illinois that currently have not
identified a confirmed case; and,

WHEREAS, until testing and contact tracing become more widespread, it is critical to
minimize the potential exposure of Illinoisans to COVID-19; and,

WHEREAS, the number of suspected COVID-19 cases in Illinois is increasing exponentially
and across more locations in Illinois, indicating that drastic social distancing measures are
needed, even in communities where confirmed cases have not yet been identified, to reduce the
number of people who become sick at any given time and the possibility of exhausting our health
care resources; and,


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         This Executive Order will be filed on April 30, 2020. This pre-filing copy is being provided to media and
the public in order to inform the public about the changes to expect as of May 1, 2020. The underlining and strike
outs identify the changes to the current Executive Order.

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WHEREAS, the CDC now recommends wearing cloth face coverings in public settings
where other social distancing measures are difficult to maintain in order to slow the spread
of the virus and help people who may have the virus and do not know it from transmitting
it to others; and,

WHEREAS, I, JB Pritzker, Governor of Illinois, declared all counties in the State of Illinois as a
disaster area on March 9, 2020 (the First Gubernatorial Disaster Proclamation) in response to the
outbreak of COVID-19; and,

WHEREAS, I again declared all counties in the State of Illinois as a disaster area on April 1,
2020 (the Second Gubernatorial Disaster Proclamation) in response to the exponential spread of
COVID-19; and,

WHEREAS, I again declared all counties in the State of Illinois as a disaster area on April XX,
2020 (the Third Gubernatorial Disaster Proclamation, and, together with the First Gubernatorial
Disaster Proclamation and the Second Gubernatorial Disaster Proclamation, the Gubernatorial
Disaster Proclamations) in response to the exponential spread of COVID-19; and,

WHEREAS, for the preservation of public health and safety throughout the entire State of
Illinois, and to ensure that our healthcare delivery system is capable of serving those who are
sick, I find it necessary to take additional measures consistent with public health guidance to
slow and stop the spread of COVID-19;

THEREFORE, by the powers vested in me as the Governor of the State of Illinois, pursuant to
Sections 7(1), 7(2), 7(3), 7(8), 7(9), and 7(12) of the Illinois Emergency Management Agency
Act, 20 ILCS 3305, and consistent with the powers in public health laws, I hereby order the
following:

The Stay at Home Order (Executive Order 2020-10; COVID-19 Executive Order No. 8), hereby
is extended through the duration of the Gubernatorial Disaster Proclamations, with modifications
to the original Stay at Home Order reflected below. This Executive Order is effective as of
May 1, 2020:

Section 1. Public Health Requirements for Individuals Leaving Home and for Businesses

   1. Wearing a face covering in public places or when working. Any individual who is
      over age two and able to medically tolerate a face-covering (a mask or cloth face-
      covering) shall be required to cover their nose and mouth with a face-covering when
      in a public place and unable to maintain a six-foot social distance. Face-coverings
      are required in public indoor spaces such as stores.

   2. Requirements for essential stores. Retail stores (including, but not limited to, stores
      that sell groceries and medicine, hardware stores, and greenhouses, garden centers,
      and nurseries) designated as Essential Businesses and Operations under this Order
      shall to the greatest extent possible:


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        •   provide face coverings to all employees who are not able to maintain a
            minimum six-foot social distance at all times;
        •   cap occupancy at 50 percent of store capacity, or, alternatively, at the
            occupancy limits based on store square footage set by the Department of
            Commerce and Economic Opportunity;
        •   set up store aisles to be one-way where practicable to maximize spacing
            between customers and identify the one-way aisles with conspicuous signage
            and/or floor markings;
        •   communicate with customers through in-store signage, and public service
            announcements and advertisements, about the social distancing
            requirements set forth in this Order (Social Distancing Requirements); and
        •   discontinue use of reusable bags.
   Households must limit the number of members who enter stores to the minimum
   necessary.
3. Requirements for non-essential stores. Retail stores not designated as Essential
   Businesses and Operations may re-open for the limited purposes of fulfilling
   telephone and online orders through pick-up outside the store and delivery – which
   are deemed to be Minimum Basic Operations. Employees working in the store must
   follow the social Distancing Requirements, and must wear a face covering when they
   may come within six feet of another employee or a customer.

4. Requirements for manufacturers. Manufacturers that continue to operate pursuant
   to this Order must follow Social Distancing Requirements and take appropriate
   precautions, which may include:
        • providing face coverings to all employees who are not able to maintain a
           minimum six-foot social distance at all times;
        • staggering shifts;
        • reducing line speeds;
        • operating only essential lines, while shutting down non-essential lines;
        • ensuring that all spaces where employees may gather, including locker
           rooms and lunchrooms, allow for social distancing; and
        • downsizing operations to the extent necessary to allow for social distancing
           and to provide a safe workplace in response to the COVID-19 emergency.

5. Requirements for all businesses. All businesses must evaluate which employees are
   able to work from home, and are encouraged to facilitate remote work from home
   when possible. All businesses that have employees physically reporting to a work-
   site must post the attached guidance from the Illinois Department of Public Health
   (IDPH) regarding workplace safety during the COVID-19 emergency.




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Section 2. Stay at Home; Social Distancing Requirements; and Essential Businesses and
Operations
   1. Stay at home or place of residence. With exceptions as outlined below, all individuals
      currently living within the State of Illinois are ordered to stay at home or at their place of
      residence except as allowed in this Executive Order. To the extent individuals are using
      shared or outdoor spaces when outside their residence, they must at all times and as much
      as reasonably possible maintain social distancing of at least six feet from any other
      person, consistent with the Social Distancing Requirements set forth in this Executive
      Order. All persons may leave their homes or place of residence only for Essential
      Activities, Essential Governmental Functions, or to operate Essential Businesses and
      Operations, all as defined below.

      Individuals experiencing homelessness are exempt from this directive, but are strongly
      urged to obtain shelter, and governmental and other entities are strongly urged to make
      such shelter available as soon as possible and to the maximum extent practicable (and to
      use in their operation COVID-19 risk mitigation practices recommended by the U.S.
      Centers for Disease Control and Prevention (CDC) and the Illinois Department of Public
      Health (IDPH)). Individuals whose residences are unsafe or become unsafe, such as
      victims of domestic violence, are permitted and urged to leave their home and stay at a
      safe alternative location. For purposes of this Executive Order, homes or residences
      include hotels, motels, shared rental units, shelters, and similar facilities.

   2. Non-essential business and operations must cease. All businesses and operations in
      the State, except Essential Businesses and Operations as defined below, are required to
      cease all activities within the State except Minimum Basic Operations, as defined below.
      For clarity, businesses may also continue operations consisting exclusively of employees
      or contractors performing activities at their own residences (i.e., working from home).

      All Essential Businesses and Operations are encouraged to may remain open consistent
      with the express provisions of this Order and the intent of this Order as set forth in
      Section 1, Paragraph 16 below. To the greatest extent feasible, Essential Businesses
      and Operations shall comply with Social Distancing Requirements as defined in this
      Executive Order, including by maintaining six-foot social distancing for both employees
      and members of the public at all times, including, but not limited to, when any customers
      are standing in line.

   3. Prohibited activities. All public and private gatherings of any number of people
      occurring outside a single household or living unit are prohibited, except for the limited
      purposes permitted by this Executive Order. Pursuant to current guidance from the CDC,
      any gathering of more than ten people is prohibited unless exempted by this Executive
      Order. Nothing in this Executive Order prohibits the gathering of members of a
      household or residence.


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   All places of public amusement, whether indoors or outdoors, including but not limited
   to, locations with amusement rides, carnivals, amusement parks, water parks, aquariums,
   zoos, museums, arcades, fairs, children’s play centers, playgrounds, funplexes, theme
   parks, bowling alleys, movie and other theaters, concert and music halls, and country
   clubs or social clubs shall be closed to the public.

   This Executive Order supersedes Section 2 of Executive Order 2020-07 (COVID-19
   Executive Order No. 5), which prohibited gatherings of 50 people or more.

4. Prohibited and permitted travel. All travel, including, but not limited to, travel by
   automobile, motorcycle, scooter, bicycle, train, plane, or public transit, except Essential
   Travel and Essential Activities as defined herein, is prohibited. People riding on public
   transit must comply with Social Distancing Requirements to the greatest extent feasible.
   This Executive Order allows travel into or out of the State to maintain Essential
   Businesses and Operations and Minimum Basic Operations.

5. Leaving the home for essential activities is permitted. For purposes of this Executive
   Order, individuals may leave their residence only to perform any of the following
   Essential Activities, and must follow the Social Distancing Requirements set forth in
   this Order, including wearing face coverings when in public or at work:

       a. For health and safety. To engage in activities or perform tasks essential to their
          health and safety, or to the health and safety of their family or household
          members (including, but not limited to, pets), such as, by way of example only
          and without limitation, seeking emergency services, obtaining medical supplies or
          medication, or visiting a health care professional.

       b. For necessary supplies and services. To obtain necessary services or supplies
          for themselves and their family or household members, or to deliver those
          services or supplies to others, such as, by way of example only and without
          limitation, groceries and food, household consumer products, supplies they need
          to work from home, and products necessary to maintain the safety, sanitation, and
          essential operation of residences.

       c. For outdoor activity. To engage in outdoor activity, provided the individuals
          comply with Social Distancing Requirements, as defined below, such as, by way
          of example and without limitation, walking, hiking, running, and biking.
          Individuals may go to public parks and open outdoor recreation areas, including
          specific State parks that remain open for certain activities, as designated by
          the Illinois Department of Natural Resources. Fishing and boating in groups
          of no more than two people are permitted. Golf is permitted only when
          following the guidelines provided by the Illinois Department of Commerce


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           and Economic Opportunity (DCEO). However, Playgrounds may increase
           spread of COVID-19, and therefore shall be closed.

       d. For certain types of work. To perform work providing essential products and
          services at Essential Businesses or Operations (which, as defined below, includes
          Healthcare and Public Health Operations, Human Services Operations, Essential
          Governmental Functions, and Essential Infrastructure) or to otherwise carry out
          activities specifically permitted in this Executive Order, including Minimum
          Basic Operations.

       e. To take care of others. To care for a family member, friend, or pet in another
          household, and to transport family members, friends, or pets as allowed by this
          Executive Order.

6. Elderly people and those who are vulnerable as a result of illness should take
   additional precautions. People at high risk of severe illness from COVID-19, including
   elderly people and those who are sick, are urged to stay in their residence to the extent
   possible except as necessary to seek medical care. Nothing in this Executive Order
   prevents the Illinois Department of Public Health or local public health departments from
   issuing and enforcing isolation and quarantine orders pursuant to the Department of
   Public Health Act, 20 ILCS 2305.

7. Healthcare and Public Health Operations. For purposes of this Executive Order,
   individuals may leave their residence to work for or obtain services through Healthcare
   and Public Health Operations.

   Healthcare and Public Health Operations includes, but is not limited to: hospitals; clinics;
   dental offices; pharmacies; public health entities, including those that compile, model,
   analyze and communicate public health information; pharmaceutical, pharmacy, medical
   device and equipment, and biotechnology companies (including operations, research and
   development, manufacture, and supply chain); organizations collecting blood, platelets,
   plasma, and other necessary materials; licensed medical cannabis dispensaries and
   licensed cannabis cultivation centers; reproductive health care providers; eye care
   centers, including those that sell glasses and contact lenses; home healthcare services
   providers; mental health and substance use providers; other healthcare facilities and
   suppliers and providers of any related and/or ancillary healthcare services; and entities
   that transport and dispose of medical materials and remains.

   Specifically included in Healthcare and Public Health Operations are manufacturers,
   technicians, logistics, and warehouse operators and distributors of medical equipment,
   personal protective equipment (PPE), medical gases, pharmaceuticals, blood and blood
   products, vaccines, testing materials, laboratory supplies, cleaning, sanitizing,
   disinfecting or sterilization supplies, and tissue and paper towel products.

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   Healthcare and Public Health Operations also includes veterinary care and all healthcare
   and grooming services provided to animals.

   Healthcare and Public Health Operations shall be construed broadly to avoid any impacts
   to the delivery of healthcare, broadly defined. Healthcare and Public Health Operations
   does not include fitness and exercise gyms, spas, salons, barber shops, tattoo parlors, and
   similar facilities.

8. Human Services Operations. For purposes of this Executive Order, individuals may
   leave their residence to work for or obtain services at any Human Services Operations,
   including any provider funded by the Illinois Department of Human Services, Illinois
   Department of Children and Family Services, or Medicaid that is providing services to
   the public and including state-operated, institutional, or community-based settings
   providing human services to the public.

   Human Services Operations includes, but is not limited to: long-term care facilities; all
   entities licensed pursuant to the Child Care Act, 225 ILCS 10, except for day care
   centers, day care homes, and group day care homes; day care centers licensed as specified
   in Section 2, Paragraph 12(s) of this of this Executive Order; day programs exempt from
   licensure under Title 89 of the Illinois Administrative Code, Sections 377.3(a)(1)-(a)(4),
   (b)(2), and (c); day programs exempt from licensure under Title 89 of the Illinois
   Administrative Code, Section 377.3(d) (subject to the conditions governing exempt day
   care homes set forth in Section 1, Paragraph 12(s) of this Executive Order); residential
   settings and shelters for adults, seniors, children, and/or people with developmental
   disabilities, intellectual disabilities, substance use disorders, and/or mental illness;
   transitional facilities; home-based settings to provide services to individuals with
   physical, intellectual, and/or developmental disabilities, seniors, adults, and children;
   field offices that provide and help to determine eligibility for basic needs including food,
   cash assistance, medical coverage, child care, vocational services, rehabilitation services;
   developmental centers; adoption agencies; businesses that provide food, shelter, and
   social services, and other necessities of life for economically disadvantaged individuals,
   individuals with physical, intellectual, and/or developmental disabilities, or otherwise
   needy individuals.

   Human Services Operations shall be construed broadly to avoid any impacts to the
   delivery of human services, broadly defined.

9. Essential Infrastructure. For purposes of this Executive Order, individuals may leave
   their residence to provide any services or perform any work necessary to offer, provision,
   operate, maintain and repair Essential Infrastructure.




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   Essential Infrastructure includes, but is not limited to: food production, distribution, and
   sale; construction (including, but not limited to, construction required in response to this
   public health emergency, hospital construction, construction of long-term care facilities,
   public works construction, and housing construction); building management and
   maintenance; airport operations; operation and maintenance of utilities, including water,
   sewer, and gas; electrical (including power generation, distribution, and production of
   raw materials); distribution centers; oil and biofuel refining; roads, highways, railroads,
   and public transportation; ports; cybersecurity operations; flood control; solid waste and
   recycling collection and removal; and internet, video, and telecommunications systems
   (including the provision of essential global, national, and local infrastructure for
   computing services, business infrastructure, communications, and web-based services).

   Essential Infrastructure shall be construed broadly to avoid any impacts to essential
   infrastructure, broadly defined.

10. Essential Governmental Functions. For purposes of this Executive Order, all first
    responders, emergency management personnel, emergency dispatchers, court personnel,
    law enforcement and corrections personnel, hazardous materials responders, child
    protection and child welfare personnel, housing and shelter personnel, military, and other
    governmental employees working for or to support Essential Businesses and Operations
    are categorically exempt from this Executive Order.

   Essential Government Functions means all services provided by the State or any
   municipal, township, county, subdivision or agency of government and needed to ensure
   the continuing operation of the government agencies or to provide for or support the
   health, safety and welfare of the public, and including contractors performing Essential
   Government Functions. Each government body shall determine its Essential
   Governmental Functions and identify employees and/or contractors necessary to the
   performance of those functions.

   This Executive Order does not apply to the United States government. Nothing in this
   Executive Order shall prohibit any individual from performing or accessing Essential
   Governmental Functions.

11. Businesses covered by this Executive Order. For the purposes of this Executive Order,
    covered businesses include any for-profit, non-profit, or educational entities, regardless
    of the nature of the service, the function it performs, or its corporate or entity structure.

12. Essential Businesses and Operations. For the purposes of this Executive Order,
    Essential Businesses and Operations means Healthcare and Public Health Operations,




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       Human Services Operations, Essential Governmental Functions, and Essential
       Infrastructure, and the following:2

           a. Stores that sell groceries and medicine. Grocery stores, pharmacies, certified
              farmers’ markets, farm and produce stands, supermarkets, convenience stores, and
              other establishments engaged in the retail sale of groceries, canned food, dry
              goods, frozen foods, fresh fruits and vegetables, pet supplies, fresh meats, fish,
              and poultry, alcoholic and non-alcoholic beverages, and any other household
              consumer products (such as cleaning and personal care products). This includes
              stores that sell groceries, medicine, including medication not requiring a medical
              prescription, and also that sell other non-grocery products, and products necessary
              to maintaining the safety, sanitation, and essential operation of residences and
              Essential Businesses and Operations;

           b. Food, beverage, and cannabis production and agriculture. Food and beverage
              manufacturing, production, processing, and cultivation, including farming,
              livestock, fishing, baking, and other production agriculture, including cultivation,
              marketing, production, and distribution of animals and goods for consumption;
              licensed medical and adult use cannabis dispensaries and licensed cannabis
              cultivation centers; and businesses that provide food, shelter, and other necessities
              of life for animals, including animal shelters, rescues, shelters, kennels, and
              adoption facilities;

           c. Organizations that provide charitable and social services. Businesses and
              religious and secular nonprofit organizations, including food banks, when
              providing food, shelter, and social services, and other necessities of life for
              economically disadvantaged or otherwise needy individuals, individuals who need
              assistance as a result of this emergency, and people with disabilities;

           d. Media. Newspapers, television, radio, and other media services;

           e. Gas stations and businesses needed for transportation. Gas stations and auto-
              supply, auto-repair, and related facilities and bicycle shops and related facilities;

           f. Financial institutions. Banks, currency exchanges, consumer lenders, including
              but not limited, to payday lenders, pawnbrokers, consumer installment lenders
              and sales finance lenders, credit unions, appraisers, title companies, financial
              markets, trading and futures exchanges, affiliates of financial institutions, entities


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 On March 19, 2020, the U.S. Department of Homeland Security, Cybersecurity & Infrastructure
Security Agency, issued a Memorandum on Identification of Essential Critical Infrastructure Workers
During COVID-19 Response. The definition of Essential Businesses and Operations in this Order is
meant to encompass the workers identified in that Memorandum.

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         that issue bonds, related financial institutions, and institutions selling financial
         products;

      g. Hardware and supply stores and greenhouses, garden centers, and nurseries.
         Hardware stores and businesses that sell electrical, plumbing, and heating
         material, and greenhouses, garden centers, and nurseries;

      h. Critical trades. Building and Construction Tradesmen and Tradeswomen, and
         other trades including but not limited to plumbers, electricians, exterminators,
         cleaning and janitorial staff for commercial and governmental properties, security
         staff, operating engineers, HVAC, painting, moving and relocation services, and
         other service providers who provide services that are necessary to maintaining the
         safety, sanitation, and essential operation of residences, Essential Activities, and
         Essential Businesses and Operations;

      i. Mail, post, shipping, logistics, delivery, and pick-up services. Post offices and
         other businesses that provide shipping and delivery services, and businesses that
         ship or deliver groceries, food, alcoholic and non-alcoholic beverages, goods or
         services to end users or through commercial channels;

      j. Educational institutions. Educational institutions—including public and private
         pre-K-12 schools, colleges, and universities—for purposes of facilitating distance
         learning, performing critical research, or performing essential functions, provided
         that social distancing of six-feet per person is maintained to the greatest extent
         possible. Educational institutions may allow and establish procedures for
         pick-up of necessary supplies and/or student belongings and dormitory
         move-out if conducted in a manner consistent with public health guidelines,
         including Social Distancing Requirements. This Executive Order is consistent
         with and does not amend or supersede Executive Order 2020-05 (COVID-19
         Executive Order No. 3) or Executive Order 2020-06 (COVID-19 Executive Order
         No. 4) except that affected schools have been closed past the April 7, 2020 date
         reflected in those Orders;

      k. Laundry services. Laundromats, dry cleaners, industrial laundry services, and
         laundry service providers;

      l. Restaurants for consumption off-premises. Restaurants and other facilities that
         prepare and serve food, but only for consumption off-premises, through such
         means as in-house delivery, third-party delivery, drive-through, curbside pick-up,
         and carry-out. Schools and other entities that typically provide food services to
         students or members of the public may continue to do so under this Executive
         Order on the condition that the food is provided to students or members of the
         public on a pick-up and takeaway basis only. Schools and other entities that

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         provide food services under this exemption shall not permit the food to be eaten at
         the site where it is provided, or at any other gathering site due to the virus’s
         propensity to physically impact surfaces and personal property. This Executive
         Order is consistent with and does not amend or supersede Section 1 of Executive
         Order 2020-07 (COVID-19 Executive Order No. 5) except that Section 1 is
         ordered to be extended through April 7, 2020;

      m. Supplies to work from home. Businesses that sell, manufacture, or supply
         products needed for people to work from home;

      n. Supplies for Essential Businesses and Operations. Businesses that sell,
         manufacture, or supply other Essential Businesses and Operations with the
         support or materials necessary to operate, including computers, audio and video
         electronics, household appliances; IT and telecommunication equipment;
         hardware, paint, flat glass; electrical, plumbing and heating material; sanitary
         equipment; personal hygiene products; food, food additives, ingredients and
         components; medical and orthopedic equipment; optics and photography
         equipment; diagnostics, food and beverages, chemicals, soaps and detergent; and
         firearm and ammunition suppliers and retailers for purposes of safety and
         security;

      o. Transportation. Airlines, taxis, transportation network providers (such as Uber
         and Lyft), vehicle rental services, paratransit, and other private, public, and
         commercial transportation and logistics providers necessary for Essential
         Activities and other purposes expressly authorized in this Executive Order;

      p. Home-based care and services. Home-based care for adults, seniors, children,
         and/or people with developmental disabilities, intellectual disabilities, substance
         use disorders, and/or mental illness, including caregivers such as nannies who
         may travel to the child’s home to provide care, and other in-home services
         including meal delivery;

      q. Residential facilities and shelters. Residential facilities and shelters for adults,
         seniors, children, and/or people with developmental disabilities, intellectual
         disabilities, substance use disorders, and/or mental illness;

      r. Professional services. Professional services, such as legal services, accounting
         services, insurance services, real estate services (including appraisal and title
         services);

      s. Day care centers for employees exempted by this Executive Order. Day care
         centers granted an emergency license pursuant to Title 89, Section 407.500 of the
         Illinois Administrative Code, governing Emergency Day Care Programs for

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           children of employees exempted by this Executive Order to work as permitted.
           The licensing requirements for day care homes pursuant to Section 4 of the Child
           Care Act, 225 ILCS 10/4, are hereby suspended for family homes that receive up
           to 6 children for the duration of the Gubernatorial Disaster Proclamation.

       t. Manufacture, distribution, and supply chain for critical products and
          industries. Manufacturing companies, distributors, and supply chain companies
          producing and supplying essential products and services in and for industries such
          as pharmaceutical, technology, biotechnology, healthcare, chemicals and
          sanitization, waste pickup and disposal, agriculture, food and beverage,
          transportation, energy, steel and steel products, petroleum and fuel, mining,
          construction, national defense, communications, as well as products used by other
          Essential Businesses and Operations.

       u. Critical labor union functions. Labor Union essential activities including the
          administration of health and welfare funds and personnel checking on the well-
          being and safety of members providing services in Essential Businesses and
          Operations – provided that these checks should be done by telephone or remotely
          where possible.

       v. Hotels and motels. Hotels and motels, to the extent used for lodging and
          delivery or carry-out food services.

       w. Funeral services. Funeral, mortuary, cremation, burial, cemetery, and related
          services.

13. Minimum Basic Operations. For the purposes of this Executive Order, Minimum Basic
    Operations include the following, provided that employees comply with Social
    Distancing Requirements, to the extent possible, while carrying out such operations:

       a. The minimum necessary activities to maintain the value of the business’s
          inventory, preserve the condition of the business’s physical plant and equipment,
          ensure security, process payroll and employee benefits, or for related functions.

       b. The minimum necessary activities to facilitate employees of the business being
          able to continue to work remotely from their residences.

       c. For retail stores, fulfilling online and telephonic orders through pick-up
          outside the store or delivery.

14. Essential Travel. For the purposes of this Executive Order, Essential Travel includes
    travel for any of the following purposes. Individuals engaged in any Essential Travel
    must comply with all Social Distancing Requirements as defined in this Section.

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       a. Any travel related to the provision of or access to Essential Activities, Essential
          Governmental Functions, Essential Businesses and Operations, or Minimum
          Basic Operations.

       b. Travel to care for elderly, minors, dependents, persons with disabilities, or other
          vulnerable persons.

       c. Travel to or from educational institutions for purposes of receiving materials for
          distance learning, for receiving meals, and any other related services.

       d. Travel to return to a place of residence from outside the jurisdiction.

       e. Travel required by law enforcement or court order, including to transport children
          pursuant to a custody agreement.

       f. Travel required for non-residents to return to their place of residence outside the
          State. Individuals are strongly encouraged to verify that their transportation out of
          the State remains available and functional prior to commencing such travel.

15. Social Distancing, Face Covering, and PPE Requirements. For purposes of this
    Executive Order, Social Distancing Requirements includes maintaining at least six-foot
    social distancing from other individuals, washing hands with soap and water for at least
    twenty seconds as frequently as possible or using hand sanitizer, covering coughs or
    sneezes (into the sleeve or elbow, not hands), regularly cleaning high-touch surfaces, and
    not shaking hands.

       a. Required measures. Essential Businesses and Operations and businesses
          engaged in Minimum Basic Operations must take proactive measures to ensure
          compliance with Social Distancing Requirements, including where possible:

               i. Designate six-foot distances. Designating with signage, tape, or by other
                  means six-foot spacing for employees and customers in line to maintain
                  appropriate distance;

               ii. Hand sanitizer and sanitizing products. Having hand sanitizer and
                   sanitizing products readily available for employees and customers;

              iii. Separate operating hours for vulnerable populations. Implementing
                   separate operating hours for elderly and vulnerable customers; and

              iv. Online and remote access. Posting online whether a facility is open and
                  how best to reach the facility and continue services by phone or remotely.

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               v. Face Coverings and PPE. Providing employees with appropriate face
                  coverings and requiring that employees wear face coverings where
                  maintaining a six-foot social distance is not possible at all times.
                  When the work circumstances require, providing employees with
                  other PPE in addition to face coverings.

16. Intent of this Executive Order. The intent of this Executive Order is to ensure that the
    maximum number of people self-isolate in their places of residence to the maximum
    extent feasible, while enabling essential services to continue, to slow the spread of
    COVID-19 to the greatest extent possible. When people need to leave their places of
    residence, whether to perform Essential Activities, or to otherwise facilitate authorized
    activities necessary for continuity of social and commercial life, they should at all times
    and as much as reasonably possible comply with Social Distancing Requirements. All
    provisions of this Executive Order should be interpreted to effectuate this intent.
    Businesses not specifically addressed by this Executive Order generally should cease
    activities and reduce to Minimum Basic Operations.

17. Enforcement. This Executive Order may be enforced by State and local law
    enforcement pursuant to, inter alia, Section 7, Section 15, Section 18, and Section 19 of
    the Illinois Emergency Management Agency Act, 20 ILCS 3305.

   Businesses must follow guidance provided or published by: the Office of the
   Governor, the Illinois Department of Commerce and Economic Opportunity, and
   State and local law enforcement regarding whether they qualify as Essential; and
   the Illinois Department of Public Health, local public health departments, and the
   Workplace Rights Bureau of the Office of the Illinois Attorney General with respect
   to Social Distancing Requirements. Pursuant to Section 25(b) of the Whistleblower
   Act, 740 ILCS 174, businesses are prohibited from retaliating against an employee
   for disclosing information where the employee has reasonable cause to believe that
   the information discloses a violation of this Order.

18. No limitation on authority. Nothing in this Executive Order shall, in any way, alter or
    modify any existing legal authority allowing the State or any county, or local government
    body from ordering (1) any quarantine or isolation that may require an individual to
    remain inside a particular residential property or medical facility for a limited period of
    time, including the duration of this public health emergency, or (2) any closure of a
    specific location for a limited period of time, including the duration of this public health
    emergency. Nothing in this Executive Order shall, in any way, alter or modify any
    existing legal authority allowing a county or local government body to enact provisions
    that are stricter than those in this Executive Order.




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Section 3. Savings clause.
If any provision of this Executive Order or its application to any person or circumstance is held
invalid by any court of competent jurisdiction, this invalidity does not affect any other provision
or application of this Executive Order, which can be given effect without the invalid provision or
application. To achieve this purpose, the provisions of this Executive Order are declared to be
severable.




                                                      _______________________
                                                       JB Pritzker, Governor



Issued by the Governor April 30, 2020
Filed by the Secretary of State April 30, 2020




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